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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                                Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


         AMENDED STIPULATED ORDER EXTENDING SCHEDULE

         Pursuant to this Court’s directive of August 19, 2021 (Dkt. 1160), this

Stipulation is made and entered into by all Parties with reference to the following

facts:

         1. A status conference was held in the above captioned action (the
            “Action”) on August 19, 2021.

         2. Both Plaintiffs and State Defendants have moved for an extension of the
            schedule in this matter (Dkt. Nos. 1118 and 1152, respectively).

         3. At the August 19, 2021 status conference, the Court ordered the parties to
            meet and confer further regarding the parties’ outstanding discovery
            disputes.

         4. At the August 19, 2021 status conference, the Court directed the parties
            to file a stipulation for a 60-day extension.

         5. The parties agree that additional time is needed to complete fact and
            expert discovery.



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      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by

and between the parties, through their respective counsel, that the scheduling order

set out in the May 20, 2021 Amended Scheduling Order (Dkt. 1093) should be

amended as follows:

      1. The deadline to complete fact discovery shall be continued to 60 days
         from entry of this Stipulated Order by the Court.

      2. All subsequent deadlines shall be continued the number of days set out in
         the chart below.

      3. Dates so calculated that fall on a weekend, holiday, or other non-business
         day shall roll to the first business day when the Court is open after the
         calculated date.

      4. The schedule of remaining case events should accordingly be as follows:

 Case Event                                  Deadline
 Close of Fact Discovery                     November 15, 2021
 Close of Expert Discovery                   December 6, 2021
 Summary Judgment Motions (Filed)            January 5, 2022
 Summary Judgment (Response)                 January 25, 2022
 Summary Judgment (Reply)                    February 4, 2022
 Daubert Motions                             No later than the deadline for
                                             submission of the Pretrial Order
 Pretrial Order                              Date of last Summary Judgment ruling
                                             + 20 days
 Trial Readiness                             TBD thereafter




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     IT IS SO ORDERED this ____ day of September, 2021.




                                    ____________________________________
                                    U.S. District Court Judge Amy Totenberg




           Respectfully submitted this 16th day of September, 2021.

 /s/ David D. Cross                        /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)             Halsey G. Knapp, Jr.
Veronica Ascarrunz (pro hac vice)         GA Bar No. 425320
Lyle P. Hedgecock (pro hac vice)          Adam M. Sparks
Mary G. Kaiser (pro hac vice)             GA Bar No. 341578
MORRISON & FOERSTER LLP                   KREVOLIN & HORST, LLC
2100 L Street, NW                         1201 West Peachtree Street, NW
Suite 900                                 Suite 3250
Washington, DC 20037                      Atlanta, GA 30309
(202) 887-1500                            (404) 888-9700
   Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg

/s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
Bruce P. Brown                            Robert A. McGuire, III
Georgia Bar No. 064460                    Admitted Pro Hac Vice
BRUCE P. BROWN LAW LLC                      (ECF No. 125)
1123 Zonolite Rd. NE                      ROBERT MCGUIRE LAW FIRM
Suite 6                                   113 Cherry St. #86685
Atlanta, Georgia 30306                    Seattle, Washington 98104-2205
(404) 881-0700                            (253) 267-8530
             Counsel for Plaintiff Coalition for Good Governance

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/s/ Cary Ichter
Cary Ichter
Georgia Bar No. 382515
ICHTER DAVIS LLC
3340 Peachtree Road NE
Suite 1530
Atlanta, Georgia 30326
(404) 869-7600
           Counsel for Plaintiffs William Digges III, Laura Digges,
                       Ricardo Davis & Megan Missett

/s/Vincent R. Russo                        Bryan P. Tyson
Vincent R. Russo                           Georgia Bar No. 515411
Georgia Bar No. 242628                     btyson@taylorenglish.com
vrusso@robbinsfirm.com                     Jonathan D. Crumly
Josh Belinfante                            Georgia Bar No. 199466
Georgia Bar No. 047399                     jcrumly@taylorenglish.com
jbelinfante@robbinsfirm.com                James A. Balli
Carey A. Miller                            Georgia Bar No. 035828
Georgia Bar No. 976240                     jballi@taylorenglish.com
cmiller@robbinsfirm.com                    R. Dal Burton
Alexander Denton                           Georgia Bar No. 097890
Georgia Bar No. 660632                     dburton@taylorenglish.com
adenton@robbinsfirm.com                    Diane F. LaRoss
Robbins Ross Alloy Belinfante              Georgia Bar No. 430830
Littlefield LLC                            dlaross@taylorenglish.com
500 14th Street, N.W.                      Bryan F. Jacoutot
Atlanta, Georgia 30318                     Georgia Bar No. 668272
Telephone: (678) 701-9381                  bjacoutot@taylorenglish.com
Facsimile: (404) 856-3255                  Loree Anne Paradise
                                           Georgia Bar No. 382202
                                           lparadise@taylorenglish.com
                                           TAYLOR ENGLISH DUMA LLP
                                           1600 Parkwood Circle, Suite 200
                                           Atlanta, GA 30339
                                           Telephone: 678-336-7249
                         Counsel for State Defendants

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/s/ David R. Lowman
Kaye Burwell
Georgia Bar No. 775060
kaye.burwell@fultoncountyga.gov
Cheryl Ringer
Georgia Bar No. 557420
cheryl.ringer@fultoncountyga.gov
David Lowman
Georgia Bar No. 460298
david.lowman@fultoncountyga.gov
OFFICE OF THE COUNTY ATTORNEY
141 Pryor Street, S.W.
Suite 4038
Atlanta, Georgia 30303
                  Counsel for Fulton County Defendants




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DONNA CURLING, ET AL.,
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v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




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               IN THE UNITED STATES DISTRICT COURT
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 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER , ET AL.,
 Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on September 16, 2021, a copy of the foregoing

AMENDED STIPULATED ORDER EXTENDING SCHEDULE was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ David D. Cross
                                               David D. Cross




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